            20-11133-mg            Doc 1           Filed 05/10/20 Entered 05/10/20 12:50:43                                  Main Document
                                                                Pg 1 of 20
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
 Southern
 ____________________             New York
                      District of _________________
                                       (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                            Check if this is an
                                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          04/19

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.   Debtor’s name                          Avianca Holdings S.A.
                                           ______________________________________________________________________________________________________



                                            SK Holding Ltd; AviacaTaca Ltd; AviancaTaca Holding S.A.
2.   All other names debtor used           ______________________________________________________________________________________________________
     in the last 8 years                   ______________________________________________________________________________________________________
     Include any assumed names,            ______________________________________________________________________________________________________
     trade names, and doing business       ______________________________________________________________________________________________________
     as names
                                           ______________________________________________________________________________________________________



3.   Debtor’s federal Employer              N/A
                                           ___ ___ – ___ ___ ___ ___ ___ ___ ___
     Identification Number (EIN)



4.   Debtor’s address                      Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business

                                            Edificio P.H. ARIFA, Boulevard Oeste
                                           ______________________________________________               _______________________________________________
                                           Number     Street                                            Number     Street

                                            Pisos 9 y 10
                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                            Ciudad de Panama          Republica de Panama
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.   Debtor’s website (URL)                 https://aviancaholdings.com
                                           ____________________________________________________________________________________________________


6.   Type of debtor                        
                                           ✘ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 1
                                                                                                                 American LegalNet, Inc.
                                                                                                                 www.FormsWorkFlow.com
              20-11133-mg               Doc 1     Filed 05/10/20 Entered 05/10/20 12:50:43                              Main Document
                                                               Pg 2 of 20
Debtor
                 Avianca Holdings S.A.
                _______________________________________________________                         Case number (if known)_____________________________________
                Name



                                           A. Check one:
7.    Describe debtor’s business
                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            Railroad (as defined in 11 U.S.C. § 101(44))
                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           
                                           ✘ None of the above

                                           B. Check all that apply:

                                            Tax-exempt entity (as described in 26 U.S.C. § 501)
                                            Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                                § 80a-3)
                                            Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                           C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                              http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                 4 ___
                                                ___ 8 ___
                                                       1 ___
                                                          1
8.    Under which chapter of the           Check one:
      Bankruptcy Code is the
      debtor filing?                        Chapter 7
                                            Chapter 9
                                           
                                           ✘ Chapter 11. Check all that apply:
                                                           Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
                                                                4/01/22 and every 3 years after that).
                                                            
                                                             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                                debtor is a small business debtor, attach the most recent balance sheet, statement
                                                                of operations, cash-flow statement, and federal income tax return or if all of these
                                                                documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                                creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                12b-2.
                                            Chapter 12

9.    Were prior bankruptcy cases          
                                           ✘ No
      filed by or against the debtor
      within the last 8 years?              Yes. District _______________________ When _______________ Case number _________________________
                                                                                                MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                                  District _______________________ When _______________ Case number _________________________
                                                                                            MM / DD / YYYY

10. Are any bankruptcy cases                No
      pending or being filed by a                                                                                    Affiliate
                                                        see attached Schedule 1
                                           ✘ Yes. Debtor _____________________________________________
      business partner or an                                                                           Relationship _________________________
      affiliate of the debtor?                                Southern District of New York
                                                      District _____________________________________________ When
                                                                                                                                Date Hereof
                                                                                                                               __________________
      List all cases. If more than 1,                                                                                          MM / DD / YYYY
      attach a separate list.                         Case number, if known ________________________________


     Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 2
                                                                                                                     American LegalNet, Inc.
                                                                                                                     www.FormsWorkFlow.com
          20-11133-mg             Doc 1       Filed 05/10/20 Entered 05/10/20 12:50:43                                 Main Document
                                                           Pg 3 of 20
Debtor
               Avianca Holdings S.A.
               _______________________________________________________                       Case number (if known)_____________________________________
               Name




11. Why is the case filed in this       Check all that apply:
   district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                           immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                           district.

                                        
                                        ✘ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have         
                                        ✘ No
   possession of any real                Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
   property or personal property
   that needs immediate                          Why does the property need immediate attention? (Check all that apply.)
   attention?
                                                  It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard? _____________________________________________________________________

                                                  It needs to be physically secured or protected from the weather.
                                                  It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                     attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                     assets or other options).

                                                  Other _______________________________________________________________________________


                                                 Where is the property?_____________________________________________________________________
                                                                           Number          Street

                                                                           ____________________________________________________________________

                                                                           _______________________________________          _______    ________________
                                                                           City                                             State      ZIP Code


                                                 Is the property insured?
                                                  No
                                                  Yes. Insurance agency ____________________________________________________________________
                                                          Contact name     ____________________________________________________________________

                                                          Phone            ________________________________




          Statistical and administrative information



13. Debtor’s estimation of              Check one:
   available funds                      
                                        ✘ Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                         1-49                            1,000-5,000                             
                                                                                                                   ✘ 25,001-50,000
14. Estimated number of
                                         50-99                           5,001-10,000                             50,001-100,000
   creditors
                                         100-199                         10,001-25,000                            More than 100,000
   (on a consolidated basis)             200-999

                                         $0-$50,000                      $1,000,001-$10 million                   $500,000,001-$1 billion
15. Estimated assets
                                         $50,001-$100,000                $10,000,001-$50 million                 
                                                                                                                   ✘ $1,000,000,001-$10 billion
   (on a consolidated basis)             $100,001-$500,000               $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                         $500,001-$1 million             $100,000,001-$500 million                More than $50 billion



 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
                                                                                                             American LegalNet, Inc.
                                                                                                             www.FormsWorkFlow.com
           20-11133-mg            Doc 1        Filed 05/10/20 Entered 05/10/20 12:50:43                                  Main Document
                                                            Pg 4 of 20
Debtor
             Avianca Holdings S.A.
             _______________________________________________________                           Case number (if known)_____________________________________
             Name



                                         $0-$50,000                         $1,000,001-$10 million                   $500,000,001-$1 billion
16. Estimated liabilities
                                         $50,001-$100,000                   $10,000,001-$50 million                 
                                                                                                                      ✘ $1,000,000,001-$10 billion
   (on a consolidated basis)             $100,001-$500,000                  $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                         $500,001-$1 million                $100,000,001-$500 million                More than $50 billion


           Request for Relief, Declaration, and Signatures


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of           The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
   authorized representative of
                                            petition.
   debtor
                                           I have been authorized to file this petition on behalf of the debtor.

                                           I have examined the information in this petition and have a reasonable belief that the information is true and
                                            correct.


                                        I declare under penalty of perjury that the foregoing is true and correct.
                                                           05/10/2020
                                            Executed on _________________
                                                        MM / DD / YYYY


                                         /s/ Adrian Neuhauser
                                            _____________________________________________
                                                                                                        Adrian Neuhauser
                                                                                                       _______________________________________________
                                            Signature of authorized representative of debtor           Printed name

                                                  Authorized Signatory
                                            Title _________________________________________




18. Signature of attorney
                                         /s/ Evan R. Fleck
                                            _____________________________________________              Date
                                                                                                                    05/10/2020
                                                                                                                    _________________
                                            Signature of attorney for debtor                                        MM    / DD / YYYY


                                            Evan R. Fleck
                                            _________________________________________________________________________________________________
                                            Printed name
                                            Milbank LLP
                                            _________________________________________________________________________________________________
                                            Firm name
                                            55                Hudson Yards
                                            _________________________________________________________________________________________________
                                            Number     Street
                                             New York
                                            ____________________________________________________           NY
                                                                                                           ____________
                                                                                                                            10001
                                                                                                                        ______________________________
                                            City                                                           State        ZIP Code

                                            212-530-5000
                                            ____________________________________
                                                                                                              efleck@milbank.com
                                                                                                           __________________________________________
                                            Contact phone                                                  Email address


                                            4012662                                                         NY
                                            ______________________________________________________ ____________
                                            Bar number                                             State




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 4
                                                                                                              American LegalNet, Inc.
                                                                                                              www.FormsWorkFlow.com
  20-11133-mg Doc 1 Filed 05/10/20 Entered 05/10/20 12:50:43 Main Document
UNITED STATES BANKRUPTCY COURT   Pg 5 of 20
SOUTHERN DISTRICT OF NEW YORK
                                      x
                                      :
In re:                                : Chapter 11
                                      :
AVIANCA HOLDINGS S.A.,                : Case No. 20-____ (___) )
                                      :
                    Debtor.           :
                                      :
                                     x



                     Attachment to Voluntary Petition for Non-Individuals Filing for
                                    Bankruptcy under Chapter 11

    1. If any of the debtor=s securities are registered under Section 12 of the Securities Exchange Act of
1934, the SEC file number is CIK 0001575969.

    2. The following financial data is the latest available information and refers to the debtor=s condition on
December 31, 2019.



       a. Total assets                                                                   $ 7,273,900,000

       b. Total debts (including debts listed in 2.c., below)                            $ 7,268,700,000
       c. Debt securities held by more than 500 holders
                                                                                                                           Approximate
                                                                                                                           number of
                                                                                                                           holders:

       secured      G    unsecured        G    subordinated         G    $
       secured      G    unsecured        G    subordinated         G    $
       secured      G    unsecured        G    subordinated         G    $
       secured      G    unsecured        G    subordinated         G    $
       secured      G    unsecured        G    subordinated         G    $

                                                                                                                            340,507,917
       d. Number of shares of preferred stock
       e. Number of shares common stock                                                                                    660,800,003

       Comments, if any:



       3. Brief description of debtor=s business: Avianca is the second-largest airline in Latin America and the most important carrier
 in the Republic of Colombia and El Salvador. Established in 1919, the Debtors have a 100-year legacy as leading providers of air travel and cargo
 services in the Latin American market and around the globe. The Debtors are well respected throughout Latin America and maintain significant
 customer brand equity and a significant market share in the regions that they service. As such, they are uniquely suited to serve the needs of the
 Latin American market.
    4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote,
5% or more of the voting securities of debtor:
   BRW 78.1%
   Kingsland 21.9%
 20-11133-mg       Doc 1     Filed 05/10/20 Entered 05/10/20 12:50:43             Main Document
                                          Pg 6 of 20



                                          SCHEDULE 1

             Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the
                                         Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”), filed a
voluntary petition for relief under chapter 11 of title 11 of the United States Code in the United
States Bankruptcy Court for the Southern District of New York. The Debtors have moved for
joint administration of these cases for procedural purposes only under the case number assigned
to the chapter 11 case of Avianca Holdings S.A.

 1. Aero Transporte de Carga Unión, S.A. de           21. Avifreight Holding Mexico, S.A.P.I. de
     C.V.                                                 C.V.
 2. Aeroinversiones de Honduras, S.A.                 22. C.R. Int’l Enterprises, Inc.
 3. Aerovías del Continente Americano S.A.            23. Grupo Taca Holdings Limited
     Avianca                                          24. International Trade Marks Agency Inc.
 4. Airlease Holdings One Ltd.                        25. Inversiones del Caribe, S.A.
 5. America Central (Canada) Corp.                    26. Isleña de Inversiones, S.A. de C.V.
 6. America Central Corp.                             27. Latin Airways Corp.
 7. AV International Holdco S.A.                      28. Latin Logistics, LLC
 8. AV International Holdings S.A.                    29. Nicaraguense de Aviación, Sociedad
 9. AV International Investments S.A.                     Anónima (Nica, S.A.)
 10. AV International Ventures S.A.                   30. Regional Express Américas S.A.S.
 11. AV Investments One Colombia S.A.S.               31. Ronair N.V.
 12. AV Investments Two Colombia S.A.S.               32. Servicio Terrestre, Aereo y Rampa S.A.
 13. AV Taca International Holdco S.A.                33. Servicios Aeroportuarios Integrados SAI
 14. Avianca Costa Rica S.A.                              S.A.S.
 15. Avianca Holdings S.A.                            34. Taca de Honduras, S.A. de C.V.
 16. Avianca Leasing, LLC                             35. Taca de México, S.A.
 17. Avianca, Inc.                                    36. Taca International Airlines S.A.
 18. Avianca-Ecuador S.A.                             37. Taca S.A.
 19. Aviaservicios, S.A.                              38. Tampa Cargo S.A.S.
 20. Aviateca, S.A.                                   39. Technical and Training Services, S.A. de
                                                          C.V.
 20-11133-mg          Doc 1      Filed 05/10/20 Entered 05/10/20 12:50:43                Main Document
                                              Pg 7 of 20



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------x
                                                                 :
In re:                                                           :   Chapter 11
                                                                 :
AVIANCA HOLDINGS S.A.,                                           :   Case No. 20-_____(__)
                                                                 :
                                    Debtor.                      :   (Joint Administration Requested)
                                                                 :
-----------------------------------------------------------------x

               CORPORATE OWNERSHIP STATEMENT PURSUANT
        TO FEDERAL RULES OF BANKRUPTCY PROCEDURE 1007 AND 7007.1

        Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the

following are corporations, other than a governmental unit, that directly or indirectly own 10% or

more of any class of the Debtor’s equity interests:

                   Shareholder                           Approximate Percentage of Equity Interest
                                                                          Held
 Kingsland Holdings Limited                                              21.9%

 BRW Aviation LLC                                                             78.1%




                                                                                                        44810.00006
    20-11133-mg          Doc 1     Filed 05/10/20 Entered 05/10/20 12:50:43                    Main Document
                                                Pg 8 of 20



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------x
                                                                 :
In re:                                                           :    Chapter 11
                                                                 :
AVIANCA HOLDINGS S.A., et al.,1                                  :    Case No. 20-_____(__)
                                                                 :
                                    Debtors.                     :    (Joint Administration Requested)
                                                                 :
-----------------------------------------------------------------x

                         CONSOLIDATED LIST OF CREDITORS HOLDING
                             FIVE (5) LARGEST SECURED CLAIMS

              The following is a list of those creditors holding the five (5) largest secured claims

against the Debtors, on a consolidated basis, as of January 29, 2020. This list has been prepared

from the books and records of the Debtors for filing in the Debtors’ chapter 11 cases.

              The information set forth herein shall not constitute an admission of liability by, nor is

binding on, the Debtors and the failure to list a claim as contingent, disputed or subject to set off

shall not be a waiver of any of the Debtors’ rights relating thereto.




1
       The Debtors in these chapter 11 cases, and each Debtor’s federal tax identification number (to the extent
       applicable), are as follows: Avianca Holdings S.A. (N/A); Aero Transporte de Carga Unión, S.A. de C.V.
       (N/A); Aeroinversiones de Honduras, S.A. (N/A); Aerovías del Continente Americano S.A. Avianca (N/A);
       Airlease Holdings One Ltd. (N/A); America Central (Canada) Corp. (XX-XXXXXXX); America Central Corp. (65-
       0444665); AV International Holdco S.A. (N/A); AV International Holdings S.A. (N/A); AV International
       Investments S.A. (N/A); AV International Ventures S.A. (N/A); AV Investments One Colombia S.A.S. (N/A);
       AV Investments Two Colombia S.A.S. (N/A); AV Taca International Holdco S.A. (N/A); Avianca Costa Rica
       S.A. (N/A); Avianca Leasing, LLC (XX-XXXXXXX); Avianca, Inc. (XX-XXXXXXX); Avianca-Ecuador S.A. (N/A);
       Aviaservicios, S.A. (N/A); Aviateca, S.A. (N/A); Avifreight Holding Mexico, S.A.P.I. de C.V. (N/A); C.R. Int’l
       Enterprises, Inc. (XX-XXXXXXX); Grupo Taca Holdings Limited (N/A); International Trade Marks Agency Inc.
       (N/A); Inversiones del Caribe, S.A. (N/A); Isleña de Inversiones, S.A. de C.V. (N/A); Latin Airways Corp.
       (N/A); Latin Logistics, LLC (XX-XXXXXXX); Nicaraguense de Aviación, Sociedad Anónima (Nica, S.A.) (N/A);
       Regional Express Américas S.A.S. (N/A); Ronair N.V. (N/A); Servicio Terrestre, Aereo y Rampa S.A. (N/A);
       Servicios Aeroportuarios Integrados SAI S.A.S. (XX-XXXXXXX); Taca de Honduras, S.A. de C.V. (N/A); Taca de
       México, S.A. (N/A); Taca International Airlines S.A. (N/A); Taca S.A. (N/A); Tampa Cargo S.A.S. (N/A);
       Technical and Training Services, S.A. de C.V. (N/A). The Debtors’ principal offices are located at Avenida
       Calle 26 # 59 – 15 Bogotá, Colombia.



44810.00006
    20-11133-mg   Doc 1   Filed 05/10/20 Entered 05/10/20 12:50:43    Main Document
                                       Pg 9 of 20



             Creditor / Address           Claim Amount    Debt Type     Description of
                                                                         Collateral

1    Wilmington Savings Fund Society, FSB $484,419,000.00 Bonds        Aircraft residual
     500 Delaware Avenue                                               value and certain
     Wilmington, DE 19801                                              intellectual
     Tel: 302-888-7240                                                 property
     Email: phealy@wsfsbank.com
2    UMB Bank, N.A.                       $325,000,000.00 Long Term    Credit card
     Marilee Sobieski                                     Debt         receivables
     6550 S. Millrock Drive, Suite 150                                 collections
     Salt Lake City, UT 84121                                          Fiduciary
     Tel: 385-715-3013                                                 agreement
     Email: corptrustutah@umb.com
     Marilee.Sobieski@umb.com
3    Wells Fargo Bank Northwest N.A.      $271,117,294.00 Aircraft     (1) A319,
     (in its capacity as Owner Trustee)                   Loan         (3) A320,
     299 South Main Street, 5th Floor                     Agreement    (2) A321,
     Salt Lake City, UT 84111                                          (2) B787 aircraft
     Tel: 801-246-7142
4    ING Capital LLC US                   $123,559,193.00 ECA          One Boeing 787-
     David Jaquet                                         Aircraft     900 MSN 65315
     1133 Avenue of the Americas, 8 Fl                    Loan
     New York, NY 10036                                   Agreement
     Tel: 646-424-6000
     Email: David.Jaquet@ing.com
5    Banco De Bogota New York Agency      $107,250,000.00 Long Term    Credit card
     (in its capacity as Agent)                           Debt         receivables
     Attn: Gladys Gonzalez Cortes
     Calle 36 # 7-47 Piso 12
     Bogota, Colombia
     Email: gonza1@bancodebogota.com.co
              20-11133-mg             Doc 1      Filed 05/10/20 Entered 05/10/20 12:50:43                             Main Document
                                                              Pg 10 of 20
 Fill in this information to identify the case and this filing:


              Avianca Holdings S.A.
 Debtor Name __________________________________________________________________
                                         Southern
 United States Bankruptcy Court for the: ______________________             New York
                                                                District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



              Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


          Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
          Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
          Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
          Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
          Schedule H: Codebtors (Official Form 206H)
          Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
          Amended Schedule ____

          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
          ✔




          Other document that requires a
          ✔                                                Corporate Ownership Statement, Top 5 Secured Creditors List
               declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    05/10/2020
        Executed on ______________                         8 /s/ Adrian Neuhauser
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 Adrian Neuhauser
                                                                ________________________________________________________________________
                                                                Printed name

                                                                 Authorized Signatory
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
      Fill in this 20-11133-mg              Doc
                   information to identify the case:1    Filed 05/10/20 Entered 05/10/20 12:50:43                                           Main Document
                                                                      Pg 11 of 20
      Debtor name AVIANCA HOLDINGS S.A., et al.
      United States Bankruptcy Court for the: __Southern_______ District of New York
                                                                                    (State)                                        Check if this is an
      Case number (If known):                                                                                                       amended filing




    Official Form 204

    Chapter 11: Consolidated List of Creditors Who Have the 40
    Largest Unsecured Claims and Are Not Insiders                                                                                                                          12/15

    A list of creditors holding the 40 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include
    claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim
    resulting from inadequate collateral value places the creditor among the holders of the 40 largest unsecured claims.

                                                                                                                                                      Amount of unsecured claim
                                                                                                                                                 If the claim is fully unsecured, fill in
                                                                                                                                               only unsecured claim amount. If claim
                                                                                               Nature of the claim                              is partially secured, fill in total claim
                                                                                               (for example, trade            Indicate if        amount and deduction for value of
                                                Name, telephone number, and                     debts, bank loans,             claim is             collateral or setoff to calculate
 Name of creditor and complete
                                                  email address of creditor                        professional              contingent,                    unsecured claim.
mailing address, including zip code
                                                          contact                                 services, and             unliquidated,       Total       Deduction         Unsecured
                                                                                                   government                or disputed      claim, if          for            claim
                                                                                                    contracts)                                partially       value of
                                                                                                                                              secured        collateral
                                                                                                                                                                  or
                                                                                                                                                               setoff
1     WILMINGTON SAVINGS
      FUND SOCIETY, FSB
                                                  RAYE GOLDSBOROUGH
                                                     +1 302-888-7580                                   Bond                Unliquidated                                  Unliquidated
      500 DELAWARE AVE,
                                               rgoldborough@wsfsbank.com
      WILMINGTON, DE 19801
      USA
2     CITIBANK, N.A.
                                                        ELIZABETH REY
      CARRERA 9A #9902,                                                                                Loan                Unliquidated                                  Unliquidated
                                                   Elizabeth.rey@citi.com
      3RD FLOOR,
      BOGOTA, COLOMBIA
3     BANCO DE BOGOTA
                                                   RAFAEL ARANGO
      CALLE 36 # 7-47,                            +57 315-334-3355                                     Loan                Unliquidated                                  Unliquidated
      FLOOR 12,                             RARANGO@bancodebogota.com.co
      BOGOTA, COLOMBIA
4     WILMINGTON SAVINGS
      FUND SOCIETY, FSB
                                                  RAYE GOLDSBOROUGH
                                                     +1 302-888-7580                                   Bond                                                               $65,581,000
      500 DELAWARE AVE,
                                               rgoldborough@wsfsbank.com
      WILMINGTON, DE 19801
      USA
5     IAE INTERNATIONAL AERO
      ENGINES AG
                                                      WILLIAN RIVERA
                                                                                                  Maintenance
      400 MAIN STREET                                 +1 860-557-1914                                                                                                     $36,088,520
                                                                                                   Provider
      MS 121-10,                                Willian.Riverall@pw.utc.com
      EAST HARTFORD, CT 06118
      USA
6     BANCO DAVIVIENDA
                                                 ADRIANA R PARRA GAMBA
      CARRERA 7 N 3110, BOGOTA,                      +57 310-777-5607                                  Loan                                                               $33,433,678
      COLOMBIA                                    arparra@davivienda.com


    Official Form 204                          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest Unsecured Claims
    44810.00006
      Debtor      Avianca Holdings S.A., et Doc
                  20-11133-mg               al. 1                        Case number
                                                      Filed 05/10/20 Entered         (if known)
                                                                                 05/10/20       12:50:43                                Main Document
                  Name
                                                                   Pg 12 of 20
7     GENERAL ELECTRIC & CFM
      INTERNATIONAL
                                                        JOSE KLING
                                                                                               Maintenance
                                                     +1 415-238-2651                                                                                    $33,427,319
      1 NEUMANN WAY,                                                                            Provider
                                                    jose.kling@ge.com
      CINCINNATI, OH 45215
      USA
8     ROLLS ROYCE PLC
                                                  DAVID GONZALEZ
                                                  +1 470-328-0725                              Maintenance
      KINGS PLACE,                                                                                                                                      $28,301,046
                                            David.Gonzalez-Gomez@Rolls-                         Provider
      90 YORK WAY,
                                                     Royce.com
      LONDON, N1 9FX, UK
9     SMBC AVIATION CAPITAL
                                                 BART HARRINGTON
      IFSC HOUSE, IFSC, CUSTOM                     +1 972-974-7093                                 Lessor                                               $10,989,992
      HOUSE QUAY,                            bart.harrington@smbc.aero
      DUBLIN, IRELAND
10    SAP COLOMBIA SAS
                                                     SANDRA VARGAS
      ED. TIERRA FIRME                                                                        IT Systems and
                                                      +57 1600-3000                                                                                     $7,214,817
      PISO 24                                                                                     Services
                                                    s.vargas@sap.com
      AK 9N 115 06
      BOGOTA, COLOMBIA
11    AVOLON

      NUMBER ONE,BALLSBRIDG                         RAMON STORTINI
      BUILDING,                                    +55 119-9293-4000                               Lessor                                               $6,680,749
      1 SHELBOURNE RD,                           rstortini@avolon.aero
      BALLSBRIDGE, DUBLIN, D04
      K2R2, IRELAND
12    BANCO AGRICOLA

      BOULEVARD CONTITUCION.             REINA DE LA PAZ CASTILLO TISNADO
      67 AVENIDA NORTE, ED SAN                      +503-2267-5200                           Unsecured Debt                                             $5,000,000
      JOSE DE LA MONTAÑA,                   rcarrill@bancoagricola.com.sv
      SAN SALVADOR,
      EL SALVADOR
13    LAFISE PANAMA
                                              RODRIGO ZAMORA TERAN
      URBANIZACION SANTA                          +1 305-878-9305                            Unsecured Debt                                             $5,000,000
      MARIA BUSINESS DISTRICT,                  rodrigoz@lafise.com
      PANAMA CITY, PANAMA
14    TERPEL
                                                 LUIS FELIPE ROMERO
      CARRERA 7 #75-51,                            +57 31-0269-3390                                  Fuel                                               $4,907,654
      BOGOTA, COLOMBIA                         luis.romero@terpel.com

15    WORLD FUEL SERVICES
                                                 ARMANDO VIDALON
      9800 NW 41ST                                 +1 305-428-8141                                   Fuel                                               $4,891,949
      MIAMI, FL 33178                           avidalon@wfscorp.com
      USA
16    GETCOM
                                                EDUARDO SALAZAR
      DG 55-37 41 OF 601                      +574-444-3820 ext: 4152                      Outsourced Services                                          $4,882,420
      BELLO, ANTIOQUIA                      david.perez@onelinkbpo.net
      COLOMBIA
17    KGAL
                                                   KATHRIN DUEKER
      TOELZER STRABE 15                           +49-089-6414-3659                                Lessor                                               $4,878,420
      GARCHING, BAVARIA,                        kathrin.dueker@kgal.de
      GERMANY




     Official Form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest Unsecured Claims
      Debtor      Avianca Holdings S.A., et Doc
                  20-11133-mg               al. 1                        Case number
                                                      Filed 05/10/20 Entered         (if known)
                                                                                 05/10/20       12:50:43                                Main Document
                  Name
                                                                   Pg 13 of 20
18    LUFTHANSA GROUP
      (LUFTHANSA TECHNIK AG)
                                                   LORENA BONILLA
                                                                                               Maintenance
                                                   +1 786-547-4279                                                                                      $4,442,344
      CARRERA 7 No 7152 TORRE                                                                   Provider
                                               lorena.bonilla@lht.dlh.de
      A, PISO 10
      BOGOTA, COLOMBIA
19    ORIX AVIATION
                                                   PAUL O'DWYER
      THE OVAL, BLOCK 1                           +35 38-6382-2960                                 Lessor                                               $3,931,656
      SHELBOURNE RD, DUBLIN 4,                   paul.o'dwyer@orix.ie
      D04 E7K5, IRELAND
20    BOEING GROUP
                                                 JESSICA WADDELL
                                                                                               Maintenance
      100 N RIVERSIDE PLAZA                       +1 425-237-1109                                                                                       $3,661,913
                                                                                                Provider
      CHICAGO, IL 60606                    bcapaymentdetail@boeing.com
      USA
21    GATE GOURMET GROUP
                                                RODRIGO DECEREGA
      TV 93-5 A 96                                +1 305-924-2275                                 Catering                                              $3,619,080
      BOGOTA, COLOMBIA                       rdecerega@gategroup.com

22    ICBC LEASING CO.
                                                  DAVID WANG
      2 GRAND CANAL SQUARE,                      +1 801-246-6508                                   Lessor                                               $3,481,925
      GRAND CANAL HARBOUR,                 wangzhidong@icbcleasing.com
      DUBLIN 2, IRELAND
23    BANCO CUSCATLAN
                                                 EDUARDO AMAYA
      PIRAMIDE CUSCATLAN,                         +503-7946-6416                             Unsecured Debt                                             $3,181,659
      SAN SALVADOR,                     eduardo.amaya@bancocuscatlan.com
      EL SALVADOR
24    PUMA
                                                   VICTOR DE DIOS
      CALLE 81 #11-08,                             +502-4151-4064                                    Fuel                                               $3,156,029
      BOGOTA, COLOMBIA                     victordedios@pumaenergy.com

25    INMARSAT
                                                       RAY VILLAR
      99 CITY ROAD, OLD STREET,                    +1 404-403-0414                           Unsecured Debt                                             $3,000,000
      EC1Y 1AX,                                ray.villar@inmarsat.com
      LONDON, UK
26    AIRBUS GROUP
                                                    JESSICA MANZO
                                                                                               Maintenance
      1 ROUND POINT MAUICE                         +33 056-193-3333                                                                                     $2,832,045
                                                                                                Provider
      BELLONIE,                               jessica.manzo@airbus.com
      PARIS, FRANCE
27    CAE COLOMBIA FLIGHT
      TRAINING SAS
                                                     JOAO DIMAS
                                                  +55 11-99275-4298                       Professional Services                                         $2,828,457
      DG 25G No 95A 85,
                                                 joao.dimas@cae.com
      CEO BOG 3 PISO
      BOGOTA, COLOMBIA
28    UTAS - GOODRICH AND
      HAMILTON (COLLINS)
                                                   MARCIA EVERS
                                                                                               Maintenance
                                                  +1 937-216-5125                                                                                       $2,378,882
      7100 INTERMODAL DR                                                                        Provider
                                              marcia.evers@collins.com
      LOUISVILLE, KY 40258
      USA
29    ACCENTURE LTDA
                                                   MARIA SALAZAR
                                                                                              IT Systems and
      TV 93 #5-96                                  +57 1326-6400                                                                                        $2,361,617
                                                                                                  Services
      BOGOTA, COLOMBIA                      maria.salazar@accenture.com



     Official Form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest Unsecured Claims
      Debtor      Avianca Holdings S.A., et Doc
                  20-11133-mg               al. 1                        Case number
                                                      Filed 05/10/20 Entered         (if known)
                                                                                 05/10/20       12:50:43                                Main Document
                  Name
                                                                   Pg 14 of 20
30    MICROSOFT CORPORATION
                                                   DANIELA BOTERO
                                                                                              IT Systems and
      CALLE 92 #11-51                              +1 425-706-4400                                                                                      $2,262,732
                                                                                                  Services
      PISO 10,                                 v-danibo@microsoft.com
      BOGOTA, COLOMBIA
31    NAVBLUE SAS
                                                   SUSAN MARTINI
      295 HAGEY BOULEVARD
                                                  +1 519-747-1170                         Professional Services                                         $2,061,563
      SUITE 200,
                                              susan.martini@airbus.com
      WATERLOO, ON N2L 6R5,
      CANADA
32    CHEVRON
                                                  ZAMIRA DE YCAZA
      6001 BOLLINGER CANYON
                                                   +507-6617-3514                                    Fuel                                               $2,039,139
      ROAD,
                                                zdycaza@chevron.com
      SAN RAMON, CA 94583
      USA
33    DVB BANK
                                                MANDEEP CHANA
      PARK HOUSE,
                                                 +817 247-2287                                     Lessor                                               $1,729,522
      16-18 FINSBURGH CIRCUS,
                                           mandeep.chana@dvbbank.com
      6th FLOOR,
      LONDON, EC2N7EV, UK
34    PRATT & WHITNEY CANADA
      CORP.
                                           KRISTIAN KNUTH-WINTERFELDT
                                                                                               Maintenance
                                                   +1 336-225-8239                                                                                      $1,717,715
      1000 MARIE-VICTORIN                                                                       Provider
                                         Kristian.Knuth-Winterfeldt@pwc.ca
      BLVD. LONG UEUIL,
      UC GC 1A1 CANADA
35    WINGS CAPITAL PARTNERS
      MNGMT
                                                   CESAR ROMERO
                                                   +1 949-698-3669                                 Lessor                                               $1,699,315
      4695 MACARTHUR
                                            cesar.romero@wingscap.com
      NEWPORT BEACH, CA 92660
      USA
36    SAFRAN GROUP
                                                  ANDRES CHAVES
                                                                                               Maintenance
      1 RUE DES FRERES                           +57 31-7759-8720                                                                                       $1,692,780
                                                                                                Provider
      PARIS, FRANCE                       andres.chaves@safrangroup.com

37    IBM CAPITAL
                                                  MONICA PAREDES
      4905 STARIHA DRIVE                                                                     Unsecured Debt                                             $1,604,316
                                                mparedes@co.ibm.com
      MUSKEGON, MI 49441
      USA
38    BANCOLOMBIA
                                         DIANA CAROLINA MEDINA MUNOZ
      CARRERA 48 # 26-85                          +57 4448-9048                              Unsecured Debt                                             $1,496,251
      MEDELLIN,                           dicmedin@bancolombia.com.co
      ANTIOQUIA, COLOMBIA
39    AIRCASTLE
                                                  SERGIO GONZALES
      201 TRESSER BOULEVARD,                       +1 203 504 1068                                 Lessor                                               $1,487,389
      STAMFORD, CT 06901                       sgonzalez@aircastle.com
      USA
40    SECURITAS GROUP
                                                   JOSE BELTRAN
      CR 63 #17A – 03                                                                        Airport Services                                           $1,448,222
                                             abeltran@securitas.com.co
      BOGOTA,
      COLOMBIA




     Official Form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest Unsecured Claims
20-11133-mg            Doc 1    Filed 05/10/20 Entered 05/10/20 12:50:43            Main Document
                                             Pg 15 of 20


                         MINUTES OF AN EXTRAORDINARY MEETING
                             OF THE BOARD OF DIRECTORS OF
                                 AVIANCA HOLDINGS S.A.,
                                  a Panamanian corporation
                                       (the “Company”)

                                              May 10, 2020

        After prior summons in accordance with the Articles of Incorporation of the Company
 (the “Pacto”) an extraordinary meeting of the Board of Directors of the Company (the
 “Board”) was held on May 10, 2020 at 8:03 a.m. Bogota time via videoconference (the
 “Meeting”).

               The following directors were present:

                      Álvaro Jaramillo                             Roberto Kriete
                      Jairo Burgos de la Espriella                 Rodrigo Salcedo
                      James P. Leshaw                              Sergio Michelsen
                      Oscar Dario Morales                          José Gurdian
                      Richard Schifter                             Fabio Villegas

               On behalf of the management (“Management”), the following persons were present:

                      Anko van der Werff             Chief Executive Officer
                      Adrian Neuhauser               Chief Financial Officer
                      Renato Covelo                  Chief People & Legal Officer
                      Richard Galindo                Secretary / General Legal Director
                      Katherine Stradaioli           CEO Office Director

               The following board observers were present:

                      John Gebo                      United Airlines

          Mr. Roberto Kriete acted as Chairman of the Board (the “Chairman”) and Mr.
      Richard Galindo acted as Secretary (the “Secretary”).

        The Chairman announced that the Meeting had been duly convened in accordance
 with the Pacto and that a quorum was present. The Meeting was officially opened, and the
 following was discussed:

               1.     Opening

        The Chairman welcomed the Board and noted that in its recent meetings the members
 of the Board had lengthy discussions with Management and the Company’s financial and
 legal advisors about the Company’s liabilities and liquidity, the strategic alternatives
 available to it, and the impact of the foregoing on the Company’s business.



 44810.00006
20-11133-mg      Doc 1     Filed 05/10/20 Entered 05/10/20 12:50:43            Main Document
                                        Pg 16 of 20


        2.      Resolutions

        Following such statements, the Board was asked to approve the following
 considerations and resolutions:


        WHEREAS, the Board of Directors reviewed and had the opportunity to ask
 questions about the materials presented by the management and the legal and financial
 advisors of the Company and its subsidiaries regarding the liabilities and liquidity of the
 Company, the strategic alternatives available to it, and the impact of the foregoing on the
 Company’s business;

         WHEREAS, the Company, its revenues and cash flows have been severely impacted
 by the effects of the COVID-19 pandemic, the resulting measures taken by governments with
 respect to the closures of borders and movement of people, the orders to ground the
 Company’s passenger fleet and the uncertainty caused by the limited visibility that the
 industry has with respect to the demand recovery;

         WHEREAS, the Board of Directors has had the opportunity to consult with the
 management and the legal and financial advisors of the Company to fully consider each of
 the strategic alternatives available to the Company and its subsidiaries;

        WHEREAS, insolvency procedures are subject to the special approval matter
 proceeding according to the Amended and Restated Joint Action Agreement (the “JAA”) and
 the Pacto Social (the “Pacto”);

         WHEREAS, the Secretary announced that a request for waiver and approval
 regarding the filing of a voluntary petition for relief under Chapter 11 of the Bankruptcy
 Code was sent on May 8, 2020, to BRW Aviation, LLC (“BRW”) and the Independent Third
 Party (“ITP”), in accordance with Section 3.07 of the JAA, the Share Rights Agreement (the
 “SRA”) and the Pacto;

        WHEREAS, on May 8, 2020, BRW and the ITP approved the request for waiver and
 approval that was sent by the Company regarding the filing of a voluntary petition for relief
 under Chapter 11 of the Bankruptcy Code;

        WHEREAS, the Company’s Executive Committee reviewed and approved the
 consideration by the Board of Directors of the foregoing matters;

        WHEREAS, the ITP and the Board of Directors have determined that it is desirable
 and in the best interests of the Company, its subsidiaries and its creditors, employees, and
 other interested parties that a petition be filed by the Company, seeking relief under the
 provisions of Chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”); and

         WHEREAS, the Board of Directors believes that taking the actions set forth below
 is in the best interests of the Company and its subsidiaries, therefore, desires to approve the
 following resolutions.
20-11133-mg       Doc 1    Filed 05/10/20 Entered 05/10/20 12:50:43               Main Document
                                        Pg 17 of 20




 Commencement of Chapter 11 Cases

         NOW, THEREFORE, BE IT RESOLVED, that the Company and/or any other
 subsidiary of the Company be, and hereby is, authorized and empowered to file a voluntary
 petition for relief under Chapter 11 of the Bankruptcy Code (such voluntary petition, and the
 voluntary petitions to be filed by the Company’s affiliates, collectively, the “Chapter 11
 Cases”) in a court of proper jurisdiction (the “Bankruptcy Court”);

          RESOLVED FURTHER, the ITP and the Board of Directors have determined that
 it is desirable and in the best interests of the subsidiaries that a request to submit a voluntary
 application for benefits under Chapter 11 of the Insolvency Code is raised for each of the
 subsidiaries that are part of the JAA; and

         RESOLVED FURTHER, that any officer of the Company and any person
 authorized by any officer of the Company (including, without limitation, Anko van der
 Werff, Renato Covelo, José Gurdian, Roberto Kriete, Adrian Neuhauser, and Richard
 Galindo) (each, an “Authorized Person” and collectively, the “Authorized Persons”) be, and
 each of them individually hereby is, authorized, in the name and on behalf of the Company,
 appointed as the Company’s authorized representatives, and in such capacity, acting alone or
 together, with power of delegation, be, and they hereby are, authorized and empowered to
 execute and file on behalf of the Company, including in the Company’s capacity as
 shareholder or member of its subsidiaries, all petitions, schedules, lists, applications,
 pleadings and other motions, papers, agreements, consents or documents, and to take any and
 all action that they deem necessary or proper to obtain such relief, including, without
 limitation, any action necessary to maintain the ordinary course operation of the Company’s
 businesses.

 Retention of Professionals

        RESOLVED FURTHER, that each Authorized Person be, and they hereby are,
 authorized and directed to employ the law firm of Milbank LLP as general bankruptcy
 counsel to represent and assist the Company in carrying out its duties under the Bankruptcy
 Code, and to take any and all actions to advance the Company’s rights and obligations,
 including filing any pleadings; and in connection therewith, each of the Authorized Persons,
 with power of delegation, are hereby authorized and directed to execute appropriate retention
 agreements, pay appropriate retainers, and to cause to be filed an appropriate application for
 authority to retain the services of Milbank LLP.

         RESOLVED FURTHER, that each Authorized Person be, and they hereby are,
 authorized and directed to employ the law firm of Urdaneta, Velez, Pearl & Abdallah
 Abogados as restructuring counsel; and in connection therewith, each of the Authorized
 Persons, with power of delegation, are hereby authorized and directed to execute appropriate
 retention agreements, pay appropriate retainers, and to cause to be filed an appropriate
 application for authority to retain the services of Urdaneta, Velez, Pearl & Abdallah
 Abogados.
20-11133-mg      Doc 1     Filed 05/10/20 Entered 05/10/20 12:50:43              Main Document
                                        Pg 18 of 20


         RESOLVED FURTHER, that each Authorized Person be, and they hereby are,
 authorized and directed to employ the law firm of Gómez-Pinzón Abogados S.A.S. as
 restructuring counsel; and in connection therewith, each of the Authorized Persons, with
 power of delegation, are hereby authorized and directed to execute appropriate retention
 agreements, pay appropriate retainers, and to cause to be filed an appropriate application for
 authority to retain the services of Gómez-Pinzón Abogados S.A.S.

         RESOLVED FURTHER, that each Authorized Person be, and they hereby are,
 authorized and directed to employ the law firm of Smith Gambrell and Russell, LLP as
 aviation counsel to represent and assist the Company in carrying out its duties under the
 Bankruptcy Code, and to take any and all actions to advance the Company’s rights and
 obligations, including filing any pleadings; and in connection therewith, each of the
 Authorized Persons, with power of delegation, are hereby authorized and directed to execute
 appropriate retention agreements, pay appropriate retainers, and to cause to be filed an
 appropriate application for authority to retain the services of Smith Gambrell and Russell,
 LLP.

         RESOLVED FURTHER that each Authorized Person be, and they hereby are,
 authorized and directed to employ the firm of Seabury Securities LLC, as financial
 restructuring advisor and investment banker to represent and assist the Company in carrying
 out its duties under the Bankruptcy Code, and to take all actions to advance the Company’s
 rights and obligations; and in connection therewith, each of the Authorized Persons, with
 power of delegation, are hereby authorized and directed to execute appropriate retention
 agreements, pay appropriate retainers, and to cause to be filed appropriate applications for
 authority to retain the services of Seabury Securities LLC.

         RESOLVED FURTHER that each Authorized Person be, and they hereby are,
 authorized and directed to employ the firm of KCC LLC as notice and claims agent to
 represent and assist the Company in carrying out its duties under the Bankruptcy Code, and
 to take any and all actions to advance the Company’s rights and obligations; and in
 connection therewith, each of the Authorized Persons, with power of delegation, are hereby
 authorized and directed to execute appropriate retention agreements, pay appropriate
 retainers, and to cause to be filed appropriate applications for authority to retain the services
 of KCC LLC.

        RESOLVED FURTHER that each Authorized Person be, and they hereby are,
 authorized and directed to employ the firm of FTI Consulting, Inc., as financial restructuring
 advisor to represent and assist the Company in carrying out its duties under the Bankruptcy
 Code, and to take all actions to advance the Company’s rights and obligations; and in
 connection therewith, each of the Authorized Persons are hereby authorized and directed to
 execute appropriate retention agreements, pay appropriate retainers, and to cause to be filed
 appropriate applications for authority to retain the services of FTI Consulting, Inc.

         RESOLVED FURTHER that each Authorized Person be, and they hereby are,
 authorized and directed to employ any other professionals to assist the Company in carrying
 out its duties under the Bankruptcy Code, and to take any and all actions to advance the
 Company’s rights and obligations; and in connection therewith, each of the Authorized
20-11133-mg      Doc 1     Filed 05/10/20 Entered 05/10/20 12:50:43             Main Document
                                        Pg 19 of 20


 Persons, with power of delegation, are hereby authorized and directed to execute appropriate
 retention agreements, pay appropriate retainers, and to cause to be filed appropriate
 applications for authority to retain the services of any other professionals as necessary.

         RESOLVED FURTHER that each Authorized Person be, and they hereby are, with
 power of delegation, authorized, empowered and directed to execute and file all petitions,
 schedules, motions, lists, applications, pleadings, and other papers (and to use electronic
 signatures on any of the foregoing as needed) and, in connection therewith, to employ and
 retain all assistance by legal counsel, accountants, financial advisors, and other professionals
 and to take and perform any and all further acts and deeds that each of the Authorized Persons
 deem necessary, proper or desirable in connection with the Chapter 11 Cases, with a view to
 the successful prosecution of such case.

 General

         RESOLVED FURTHER, that in addition to the specific authorizations heretofore
 conferred upon the Authorized Persons, each of the Authorized Persons (and their designees
 and delegates) be, and they hereby are, authorized and empowered, in the name of and on
 behalf of the Company, to take or cause to be taken any and all such other and further action,
 and to execute, acknowledge, deliver and file any and all such agreements, certificates,
 instruments and other documents and to pay all expenses, including but not limited to filing
 fees, in each case as in such person’s or persons’ judgment, shall be necessary, advisable or
 desirable in order to fully carry out the intent and accomplish the purposes of the resolutions
 adopted herein.

        RESOLVED FURTHER, that all members of the Board of Directors of the
 Company have received sufficient notice of the actions and transactions relating to the
 matters by the foregoing resolutions, as may be required by the organizational documents of
 the Company, or hereby waive any right to have received such notice.

        RESOLVED FURTHER, that all acts, actions and transactions relating to the
 matters contemplated by the foregoing resolutions done in the name of and on behalf of the
 Company, which acts would have been approved by the foregoing resolutions except that
 such acts were taken before the adoption of these resolutions, are hereby in all respects
 approved and ratified as the true acts and deeds of the Company with the same force and
 effect as if each such act, transaction, agreement or certificate has been specifically
 authorized in advance by resolution by the Board of Directors.


        Prior to proceeding with the vote, Mr. Gurdian mentioned that, as the rest of the
 directors are aware, Roberto Kriete, Rodrigo Salcedo and himself have a debt interest in the
 Company.
20-11133-mg   Doc 1   Filed 05/10/20 Entered 05/10/20 12:50:43   Main Document
                                   Pg 20 of 20
